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 8
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 9   LINN STAR TRANSFER, INC.

10
                                     UNITED STATE DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
     FAYE VADEN and ALMA JACKSON,                           Case No.: ______________________
13
                     Plaintiff,
14                                                          DEFENDANT LINN STAR TRANSFER,
            vs.
15                                                          INC.’S NOTICE OF REMOVAL TO
     HAIER US APPLIANCE SOLUTIONS, INC.,                    FEDERAL COURT
16   LINN STAR TRANSFER, INC., MABE SA de
17   CV, and DOES 1 - 25,

18                   Defendants.
19
20          TO THE CLERK OF THE SUPERIOR COURT FOR THE COUNTY OF CONTRA COSTA,

21   AND TO PLAINTIFFS FAYE VADEN AND ALMA JACKSON, AND THEIR ATTORNEYS OF

22   RECORD:

23          PLEASE TAKE NOTICE that LINN STAR TRANSFER, INC., by and through its undersigned

24   counsel, hereby removes this action to this Court from the Superior Court of Contra Costa County (the

25   “State Court”), pursuant to 28 U.S.C. §§ 1331, 1332, 1367, 1441(b), 1441(c), and 1446. The grounds

26   for removal are as follows:

27          1.       The action’s removal is authorized by 28 U.S.C. § 1441 (a) and (b) because the action

28   falls within the diversity jurisdiction of this Court under 28 U.S.C. § 1332.



                         _____________________________________________________
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 1                                      JURISDICTIONAL ALLEGATIONS
 2          1.       Plaintiff FAYE VADEN is a citizen of the state of California and resides in Contra Costa
 3   County.
 4          2.       Plaintiff ALMA JACKSON is a citizen of the state of California and resides in Contra
 5   Costa County.
 6          3.       Defendant HAIER US APPLIANCE SOLUTIONS, INC. D/B/A GE APPLIANCES is a
 7   Delaware corporation with its principal place of business in Louisville, Kentucky.
 8          4.       Defendant LINN STAR TRANSFER, INC. is an Iowa corporation with its principal
 9   place of business in Cedar Rapids, Iowa.
10          5.       Defendant MABE S.A. de C.V. is a Mexico corporation with its principal place of
11   business in Mexico City, Mexico.
12          6.       The amount in controversy exceeds $75,000 exclusive of interest and costs. See Exhibit
13   A - Complaint at p.4 (“Plaintiffs pray for judgment against Defendants, jointly and severally, for Ten
14   Million Dollars ($10,000,000) compensatory damages or according to proof ….”).
15          7.       This Court therefore has subject-matter jurisdiction under 28 U.S.C. § 1332(a) because
16   this is an action between citizens of different states in which the amount in controversy exceeds $75,000,
17   exclusive of interest and costs.
18                                       PROCEDURAL ALLEGATIONS
19          1.       Timeliness: This action was filed in the State Court on March 5, 2019. Plaintiffs served
20   a copy of the complaint upon Defendant via mail on March 9, 2019. The action is therefore being
21   removed within the 30 – day period provided by 28 U.S.C. § 1446(b)(1).
22          2.       Venue: As required by the venue provision of 28 U.S.C. § 1446(a), this Court is the
23   district court and division within which the state action is pending.
24          3.       Joinder: Defendant MABE S.A. de C.V. has not been served with plaintiffs’ complaint.
25          4.       Joinder: Defendant LINN STAR TRANSFER, INC. is unaware whether defendant
26   HAIER US APPLIANCE SOLUTIONS, INC. D/B/A GE APPLIANCES has been properly served with
27   a copy of plaintiffs’ complaint, or is represented by counsel. On April 5, 2019 defendant LINN STAR
28   TRANSFER, INC. mailed to HAIER US APPLIANCE SOLUTIONS, INC. D/B/A GE


                         _____________________________________________________
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 1   APPLIANCES’S agent for service of process a form for joinder and consent to the removal to this
 2   Court.
 3            5.       Other: As contemplated by 28 U.S.C. § 1446(a), defendant LINN STAR TRANSFER,
 4   INC. will file a copy of Plaintiffs’ summons and complaint as Exhibit A. Consistent with 28 U.S.C.
 5   § 1441(b), no party in interest properly joined and served as a defendant, is a citizen of California, the
 6   state in which the action was brought. Defendants are unaware of any other defendants who have been
 7   named in the complaint or who have been served with a summons and complaint, other than those
 8   identified above.
 9            6.       Pursuant to 28 U.S.C. § 1446(d), written notice of the Notice of Removal will be
10   promptly served upon Plaintiffs’ counsel.
11            7.       Pursuant to 28 U.S.C. § 1446(d), a copy of the Notice of Removal will promptly be filed
12   with the clerk of the State Court.
13
14            WHEREFORE, defendant LINN STAR TRANSFER, INC. hereby removes this action to this
15   Court from the Superior Court for the State of California, County of Contra Costa.
16
17   Dated: April 5, 2019                                   GORDON-CREED, KELLEY,
                                                            HOLL & SUGERMAN, LLP
18
19
                                                    By:            /s/ Dylan R. Williams
20                                                          Cassandra M. Angel
                                                            Bridget A. McKinstry
21                                                          Dylan R. Williams
22                                                          Attorneys for Defendants
                                                            LINN STAR TRANSFER, INC.
23
24
25
26
27
28


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 1                                          PROOF OF SERVICE
 2           I declare that I am employed in the City and County of San Francisco, California. I am over the age of 18
     years and not a party to the within action; my business address is 101 Montgomery Street, Suite 2650, San
 3
     Francisco, California 94104.
 4
          On April 5, 2019, I served the within: DEFENDANT LINN STAR TRANSFER, INC.’S
 5   NOTICE OF REMOVAL TO FEDERAL COURT on the parties in the within action at the address below
     listed by the following means:
 6
             X    (BY MAIL) By mailing true copies thereof with the U.S. Postal Service, first class mail, in a sealed
 7
                  envelope with postage affixed thereon. I am readily familiar with the firm's practice for collection
 8           and processing of correspondence for mailing with the United States Postal Service and that the above-
             referenced documents were deposited with the United States Postal Service for collection and processing
 9           on that date, in the ordinary course of business.

10                (BY OVERNIGHT DELIVERY) By placing a true copy of the above, enclosed in a sealed
                  envelope with delivery charges to be billed to Gordon-Creed, Kelley, Holl & Sugerman, LLP, for
11           delivery by Federal Express to the address(es) shown below.
12
                  (BY FACSIMILE TRANSMISSION) By transmitting a true copy of the above by facsimile
13                transmission from facsimile number 415.421.3150 to the attorney(s) or party(ies) shown below.

14               (BY MESSENGER) By placing a true copy of the above in a sealed envelope and by giving said
                 envelope to an employee of Godspeed Courier for guaranteed, same day delivery to the address(es)
15           shown below.
16               (BY HAND DELIVERY) By personal delivery of a true copy of the above to the attorneys or
                 parties shown below.
17
18                 (BY E-MAIL or ELECTRONIC MAIL) Based on a court order or an agreement of the parties to
                   accept service by e-mail or electronic transmission, I caused the documents to be sent to the persons
19           at the email address(es) listed below. I did not receive, within a reasonable period of time, after the
             transmission, any electronic message or other indication that the transmission was unsuccessful.
20
      Wendy H. Chau, Esq.
21
      Law Offices of Wendy H. Chau
22    580 California Street, Suite 1200
      San Francisco, California 94104
23    415-539-6116; Fax 415-888-958-1953
      info@attorneychau.com
24
25          I declare under penalty of perjury under the laws of the State of California and the United States
     of America that the foregoing is true and correct and that this Declaration was executed on April 5,
26   2019, at San Francisco, California.
27
                                                             /s/ Linda J. Halperin
28                                                    Linda J. Halperin
